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   Ý¿-»æ ìæïïó½ªóðïçðì Ü±½ò ýæ ïóï   Ú·´»¼æ ïïñðîñïï Ð¿¹»æ î ±º ë Ð¿¹»×Ü ýæ ê
Case: 4:11-cv-01904-JCH Doc. #: 3 Filed: 11/02/11 Page: 2 of 4 PageID #: 24

   Ý¿-»æ ìæïïó½ªóðïçðì Ü±½ò ýæ ïóï   Ú·´»¼æ ïïñðîñïï Ð¿¹»æ í ±º ë Ð¿¹»×Ü ýæ é
Case: 4:11-cv-01904-JCH Doc. #: 3 Filed: 11/02/11 Page: 3 of 4 PageID #: 25

   Ý¿-»æ ìæïïó½ªóðïçðì Ü±½ò ýæ ïóï   Ú·´»¼æ ïïñðîñïï Ð¿¹»æ ì ±º ë Ð¿¹»×Ü ýæ è
Case: 4:11-cv-01904-JCH Doc. #: 3 Filed: 11/02/11 Page: 4 of 4 PageID #: 26

   Ý¿-»æ ìæïïó½ªóðïçðì Ü±½ò ýæ ïóï   Ú·´»¼æ ïïñðîñïï Ð¿¹»æ ë ±º ë Ð¿¹»×Ü ýæ ç
